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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                        CIVIL MINUTES - TRIAL

 Case No.         SACV17-00667-DFM                                                                       Date        October 4, 2018
 Title:           Keli Parker v. Peters & Freedman, LLP, et al.

 Present: The Honorable            Douglas F. McCormick
                           Nancy Boehme                                                                 Deborah Parker
                           Deputy Clerk                                                             Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                           Attorneys Present for Defendants:
                           Stuart Price                                                                   David Peters
                           David Chami                                                                  Jeffrey Speights

                             Day Court Trial                  1st                      Day Jury Trial
                                               st
           One day trial:     X     Begun (1 day);             Held & Continued;               Completed by jury verdict/submitted to court.
 X    The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and testified.           Exhibits Identified             Exhibits admitted.

      Plaintiff(s) rest.                               Defendant(s) rest.
      Closing arguments made by                        plaintiff(s)                  defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                Jury retires to deliberate.                                Jury resumes deliberations.
      Jury Verdict in favor of                         plaintiff(s)                  defendant(s) is read and filed.
      Jury polled.                                     Polling waived.
      Filed Witness & Exhibit Lists                    Filed jury notes.             Filed jury instructions.
      Judgment by Court for                                                          plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                      plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                    is           granted.             denied.           submitted.
      Motion for mistrial by                                                  is           granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                 is           granted.             denied.           submitted.
 X    Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                  for further trial/further jury deliberation.
 X    Other:      Parties have 14 days to exchange settlement documents and file dismissal papers.

                                                                                                                             :          42

                                                                             Initials of Deputy Clerk       nb
cc:


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